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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                                CIVIL ACTION NO. 12-11853
____________________________________
                                    )
LAWRENCE C. MADOFF,                 )
JUDITH BOXER, and NANCY LANNOM, )
      Plaintiffs                    )                   COMPLAINT
                                    )
v.                                  )
                                    )
TRUSTEES OF TUFTS COLLEGE,          )
TUFTS UNIVERSITY VOLUNTARY          )
RETIREMENT PLAN, and TUFTS          )
UNIVERSITY BASIC RETIREMENT         )
PLAN,                               )
      Defendants                    )
____________________________________)


                                           Introduction

1.     This action arises under the Employment Retirement Income Security Act, 29 U.S.C.

§1001 et seq. The claims are based on the failure of Tufts University, acting as the plan

administrator for the Tufts University Voluntary Retirement Plan and the Tufts University Basic

Retirement Plan (collectively referred to hereinafter as the “Plans”) to pay death benefits under

these pension plans to the beneficiaries designated by plan participant Morton C. Madoff upon

his death.

                                           Jurisdiction

2.     This Court has jurisdiction over the Plaintiff's claims pursuant to 28 U.S.C. §1331, 29

U.S.C. §1003, and 29 U.S.C. §1132.

                                              Parties

3.     The plaintiff Lawrence C. Madoff is an individual with a last and usual address at 15

Coolidge Street, Brookline, Massachusetts.

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4.     The plaintiff Judith Boxer is an individual with a last and usual address at 111 Kendall

Road, Lexington, Massachusetts.



5.     The plaintiff Nancy Lannom is an individual with a last and usual address at 116A

School Street, Lexington, Massachusetts.



6.     The defendant, Trustees of Tufts College, conducts business as Tufts University ("Tufts")

and is a private educational institution organized as a non-profit corporation under the laws of

the Commonwealth of Massachusetts with a principal place of business at Medford,

Massachusetts.



7.     The defendant Tufts University Basic Retirement Plan is an employee pension plan

established by Tufts for the benefit of its employees and governed by the Employee Retirement

Income Security Act (“ERISA”).



8.     The defendant Tufts University Voluntary Retirement Plan is an employee pension plan

established by Tufts for the benefit of its employees and governed by ERISA.



9.     Tufts at all relevant times served as the Plan Administrator for the Tufts University Basic

Retirement Plan and for the Tufts University Voluntary Retirement Plan (collectively the

“Plans”).




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                                                Facts

10.    Tufts adopted the Tufts University Basic Retirement Plan on December 31, 1985; and

amended and restated the plan on January 1, 2001.



11.    Tufts adopted the Tufts University Voluntary Retirement Plan on or about January 1,

1989; and amended and restated the plan on January 1, 2009.



13.    Tufts designed and has maintained the Plans to qualify under all of the requirements of

sections 401(a) and 501(a) of the United States Internal Revenue Code.



14.    Morton A. Madoff (“Dr. Madoff”) was a physician who was employed by Tufts

beginning in or about July 1957.



15.    At all relevant times, Dr. Madoff was a qualified and vested participant of the Plans.



16.    At all relevant times, Fidelity Investments (“Fidelity”) served as Tufts’ agent and third

party administrator for the Plans.



17.    Under the Plans, if a participant dies before his or her benefit has commenced, the

beneficiary or beneficiaries of the participant are entitled to a benefit based upon the participant’s

plan account balance.



18.    Dr. Madoff married Marjorie Kahn (“Marjorie Madoff”) on June 21, 1953.



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19.    On or about May 3, 1996, Dr. Madoff designated Marjorie Madoff as his primary

beneficiary under the Plans.



20.    Dr. Madoff designated “all my children” as his secondary beneficiary under the Plans.



21.    At all times relevant, Dr. Madoff’s children were Lawrence C. Madoff, Judith Boxer and

Nancy Lannom.



22.    On November 11, 2001, Marjorie Madoff passed away.



23.    Dr. Madoff left Tufts’ employment in or about 2005.



24.    On September 14, 2003, Dr. Madoff married Betty Rubins Solomon (“Betty Solomon

Madoff”).



25.    On November 26, 2003, within the pre-existing Morton A. Madoff Revocable Trust

(“Trust”), Dr. Madoff set aside $700,000.00, and restated the Trust in order to provide Betty

Solomon Madoff with monthly income of at least $5,500.00 upon his death.



26.    Under the terms of the restated Trust, the Trust’s obligation to pay Betty Solomon

Madoff $5,500.00 a month was voided if she claimed any benefit that Dr. Madoff had not

specifically provided for her under the Trust.



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27.    Dr. Madoff died on June 6, 2009.



28.    As of the date of his death, Dr. Madoff had not yet received any benefit from the Plans.



29.    The terms of the Plans are silent as to the means by which a beneficiary may disclaim an

interest in plan benefits following a plan participant’s death.



30.    On information and belief, during the times relevant to this action, Tufts had established

no summary plan description for the Plans.



31.    On information and belief, during the times relevant to this action, Tufts had established

no written claims procedures for the Plans, and had not provided a description of any such claims

procedures in any summary plan descriptions.



32.    On or about January 27, 2010, through counsel, Lawrence C. Madoff, Judith Boxer and

Nancy Lannom (collectively referred to hereinafter as “Dr. Madoff’s Children”) submitted to

Tufts a claim for death benefits under the Plans, along with certified copies of their father’s and

mother’s death certificates.



33.    In their January 27, 2010 claim, Dr. Madoff’s Children informed Tufts of their father’s

second marriage to Betty Solomon Madoff, and they included a notarized instrument signed by

Betty Solomon Madoff on January 6, 2010, that provided in relevant part as follows:



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               As the surviving spouse of the participant named above, I understand that I have
               the right to receive payments from the retirement plan established through Tufts
               University while my husband was employed there upon the death of my spouse.
               My said husband died on June 6, 2009. I hereby agree to give up any and all
               rights which I may otherwise have to receive any benefits under any such
               retirement plan.

               I understand that I do not have to sign this agreement. I am signing this
               agreement voluntarily. I hereby release Tufts University from all liability for
               making payments under any such retirement plan(s) based on this authorization.


34.    Betty Solomon Madoff’s January 6, 2010 notarized instrument includes no language

directing the transfer of any interest she possessed in the Plans to any other potential beneficiary.



35.    Betty Madoff’s January 27, 2010 notarized instrument constituted a qualified disclaimer

under section 2518 of Title 26 of the United States Code (the Internal Revenue Code).



36.    By means of a February 2, 2010 email, acting on Tufts behalf, Fidelity informed Dr.

Madoff’s Children to resubmit their claim materials directly to Fidelity and to include two

standardized forms entitled a “beneficiary affidavit” and a “beneficiary distribution” form.



37.    On or about April 1, 2010, Dr. Madoff’s Children resubmitted their claims materials to

Fidelity together with the requested two additional forms.



38.    On or about April 8, 2010, Fidelity informed Dr. Madoff’s Children that it was unable to

process their claim; and requested another certified death certificate for Dr. Madoff, a copy of

the court appointment of the executor for Dr. Madoff’s estate, and a letter authorizing the

children’s counsel to act on their behalf.



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39.     On or about June 2, 2010, Dr. Madoff’s children submitted to Fidelity the requested

second death certificate, the court appointment, and the agent authorization letter.



40.     On or about June 8, 2010, Fidelity informed Dr. Madoff’s Children that it was unable to

process their claim; and requested that they submit a copy of their father’s marriage certificate.



41.     On or about June 22, 2010, Dr. Madoff’s children submitted to Fidelity the requested

marriage certificate.



42.     Having received no determination on their January 27, 2010 claim, and having received

no explanation for Tufts’ delay, on or about July 29, 2010, Dr. Madoff’s Children submitted a

letter to Fidelity requesting a report on the status of their claim.



43.     On January 25, 2011, over a year after the claim was submitted, Fidelity advised Dr.

Madoff’s Children by written notice that it was “unable to process your request”, asserting that

they were “not a valid beneficiary for the [Plans].”



44.     Fidelity’s January 25, 2011 notice included no reference to any specific Plans’

provisions supporting Tufts’ adverse determination, provided no description of the Plans’ review

procedures, and provided no statement as to the time limits applicable to such procedures.



45.     On or about February 15, 2011, Dr. Madoff’s Children renewed their claim and made

written demand to Fidelity that it process their claim for benefits within thirty days. The



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February 15, 2011 letter enclosed another copy of Betty Madoff’s January 6, 2010 qualified

disclaimer.



46.    On March 14, 2011, on behalf of the Plans and Tufts, Fidelity advised Dr. Madoff’s

Children that it was still reviewing their claim and had not made any decision on the payment of

benefits. In relevant part, Fidelity wrote:

               Upon Fidelity’s receipt of the marriage certificate in June 2010, Fidelity contacted
               the plan sponsor for direction regarding the payment of Mr. Madoff’s accounts.
               Unfortunately, no further action was taken. On February 18, 2011, Fidelity
               received the proposed disclaimer from Betty Madoff [actually the disclaimer was
               first submitted to Tufts on January 27, 2010]. Fidelity has contacted the Plan
               sponsor, Tufts University for their review and direction indicating that the
               disclaimer of Betty Madoff is valid. If the Plan sponsor determines that the
               waiver is valid, Fidelity is also requesting the Plan sponsor to direct the payment
               of the Plans account balance to Judith Boxer, Nancy Lannom and Lawrence
               Madoff.

               While Fidelity regrets any delay that may have occurred with the beneficiary
               transfer to Mr. Madoff’s children, the Plan accounts can not [sic] be transferred
               until the Plan sponsor has provided the necessary direction regarding the
               disclaimer as well as direction to make distributions to Mr. Madoff’s children.
               Fidelity had requested direction from the Plan sponsor, Tufts University and is
               awaiting their direction upon reviewing the disclaimer. [emphasis added]


47.    On or about September 9, 2011, Dr. Madoff’s Children write to Fidelity again seeking

action on their claim, and proposing in the alternative another approach to bring the matter to a

resolution.



48.    Neither Fidelity, nor Tufts ever responded to the September 19, 2011 proposal; rather, on

or about September 19, 2011, Fidelity merely sent Dr. Madoff’s Children another blank

beneficiary designation form.




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49.      On October 10, 2011, Betty Solomon Madoff passed away.



50.      On or about January 23, 2012, a date some two years after they first submitted their

claim, Dr. Madoff’s Children wrote to Fidelity again complaining about Fidelity’s and Tufts’

inaction and seeking a determination of their claim.



51.      On information and belief, the Estate of Betty Solomon Madoff made a claim for benefits

under the Plans.



52.      On behalf of Tufts, Fidelity erroneously distributed $114,720.28 from Dr. Madoff’s Plans

accounts to the Estate of Betty Solomon Madoff.



53.      Having paid out death benefits once to the Estate of Betty Solomon Madoff, Tufts stood

to incur an $114,720.28 financial loss from its own assets if it approved Dr. Madoff’s Children’s

claim.



54.      On March 9, 2012, Dr. Madoff’s Children received an undated letter from Fidelity, acting

on Tufts’ behalf, advising them that “the transfer of Dr. Madoff’s plan was completed on

December 20, 2012 to the Estate of Betty Rubin Madoff per procedure.”



55.      Fidelity’s undated notice provided no explanation for Tufts’ denial of Dr. Madoff’s

Children’s claim; it included no reference to any specific Plans’ provisions supporting Tufts’




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adverse determination; it provided no description of the Plans’ review procedures, and it did not

provide any statement as to the time limits applicable to such procedures.



56.       On April 3, 2011, Dr. Madoff’s Children made a written request to Tufts and Fidelity for

a number of documents, including the summary plan description for the Plans.



57.       Tufts and Fidelity produced no summary plan descriptions for the Plans to Dr. Madoff’s

Children.



58.       On or about April 23, 2012, Dr. Madoff’s Children appealed Tufts’ adverse benefit

determination.



59.       On or about June 20, 2012, Tufts issued a decision denying Dr. Madoff’s Children’s

appeal.



60.       Tufts’ appeal decision failed to address a number of grounds presented by Dr. Madoff’s

children, including that the ERISA is based on fundamental principles of trust law such as the

rule that the law does not require a person to accept a gift against her will.



                                         CLAIM
                              WRONGFUL DENIAL OF BENEFITS
                                 29 U.S.C. § 1132 (a)(1)(B)

61.       The Plaintiffs repeat and reallege paragraphs 1 through 60 above and incorporate them

herein.



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62.    Tufts’ and the Plans’ decision denying death benefits to Dr. Madoff’s Children operated

to impair, supersede and invalidate 26 U.S.C. §2518 and Massachusetts disclaimer law.



63.    In reviewing Dr. Madoff’s Children’s claim for benefits, Tufts and its agents did not

provide summary plan descriptions, did not utilize pre-existing formal claims procedures,

applied shifting claims requirements, failed to issue timely decisions, failed to provide

explanations for its adverse benefits decisions, failed to provide notice of appeal rights,

possessed a serious financial conflict of interest and disregarded grounds offered by the

claimants to support their claim.



64.    Tufts’ and the Plans’ decision denying death benefits to Dr. Madoff’s Children was in

error, wrongful and in violation of law.



65.    Tufts’ and the Plans’ erroneous decision to deny death benefits to Dr. Madoff’s Children

was arbitrary, capricious, unreasonable, and not made in good faith.



66.    As a direct and proximate result of Tufts’ and the Plans’ actions, Dr. Madoff’s Children

have sustained damages in the amount of $114,720.28, which on information and belief was the

amount of the death benefits due them under the Plans.



67.    As a direct and proximate result of Tufts’ and the Plans’ actions, Dr. Madoff’s Children

have incurred attorney’s fees in an amount not yet fully known to them.



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WHEREFORE, the Plaintiffs request judgment against the defendants for:

       1. Damages in the sum of $114,720.28, together with interest on that amount;

       2. Reasonable attorneys' fees;

       3. Costs of suit; and

       4. Such other and further relief as the court may deem just and proper.


     THE PLAINTIFF HEREBY MAKES A DEMAND FOR A JURY TRIAL
ON ALL ISSUES SO TRIABLE.


                                                    Respectfully submitted,
                                                    LAWRENCE C. MADOFF,
                                                    JUDITH BOXER,
                                                    NANCY LANNOM
                                                    Plaintiffs,
                                                    By their attorney,

                                                    /s/ Andrew Lawlor___________
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